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                                                          November 24, 2020

  Via ECF
  Honorable Carol B. Amon
  United States District Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11210

          Re: Schonberg, et al. v. Strulovitch, et al., Case No. 17 Civ. 2161 (CBA) (RML)

  Dear Judge Amon:

         This firm represents most of the plaintiffs in the above-referenced action (“Plaintiffs”).1
  We write in response to Defendants’ November 17, 2020 letter proposing a stay of this action
  pending arbitration. Defendants’ proposal of a stay arrives almost two years after Plaintiffs
  sought leave to amend the complaint, and when there is no claim before this Court to stay. Thus,
  Defendants’ proposal for a stay manages to be both premature and tardy.

           The proposal is premature for several related reasons. As noted, right now, there are no
  additional claims before the court that can be stayed. All of the claims asserted in this action
  have been either referred to arbitration or dismissed for lack of jurisdiction;2 and the Court
  stayed the arbitrable claims. It therefore makes little sense to consider a stay when the usual
  criteria for staying an action pending arbitration (e.g., factual overlap and preclusive effect) do
  not yet apply. In addition, the briefing on Plaintiffs’ motion for leave to amend revealed that the
  parties dispute the scope of the parties’ arbitration agreement and the Court’s application of the
  arbitration agreement. Plaintiffs’ proposed Third Amended Complaint asserts a number of
  claims that Plaintiffs believe are not arbitrable, while Defendants argue to the contrary. So,
  again, it makes little sense to stop everything now pending arbitration, when one of things that
  will be clarified by the Court on this motion to amend is which claims are to be subject to the
  pending arbitration. Likewise, only once the parties know which claims are before the Court –
  that is, which non-arbitrable claims the Court will allow Plaintiffs to assert in the Third Amended
  Complaint, if leave to amend is granted – can the parties brief, and the Court determine, whether
  a stay of those non-arbitrable claims pending arbitration is appropriate.3



  1
    Bronstein, Gewirtz & Grossman LLC represents all of the plaintiffs in this action except five: Shimon
  Asulin, Clara Grossman, Irving Grossman, David Schonfeld, and Pnina Schonfeld.
  2
    The securities fraud claim of some individual plaintiffs was dismissed on the merits.
  3
    Under the proposed Third Amended Complaint, the non-arbitrable claims would far exceed the
  arbitrable claims. In addition, the non-arbitrable claims would involve plaintiffs and defendants who
  would not be referred to arbitration at all, including the “Schedule B Defendants.” The Court previously
  denied a motion to stay the claims against the Schedule B Defendants pending arbitration.
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          Defendants’ proposal is also tardy. Plaintiffs first sought leave to file the proposed Third
  Amended Complaint in December of 2018, almost two years ago. Since then, Plaintiffs’ request
  has been briefed three times: in pre-motion letters, in pre-motion memoranda and declarations,
  and in formal briefing papers. Oral argument was scheduled on the motion to amend, only to be
  delayed by the death of defendant Yechiel Oberlander (“Oberlander”). At no point during these
  proceedings did Defendants breathe a word about a stay pending arbitration. Only now, when
  the claims against Oberlander are to be dismissed and the motion for leave to amend is to be
  renewed, have Defendants spoken up to suggest that a stay pending arbitration is appropriate.
  They claim that they only now raise the issue of a stay because the parties are scheduled to meet
  with Rabbi Avrohom Rosenberg on November 30, 2020 regarding the possible appointment of
  an arbitrator. But this explanation does not justify Defendants’ tardiness. On November 30,
  2020, barring any COVID-related delays, the parties are scheduled to hold a preliminary meeting
  with Rabbi Rosenberg, who thereafter may or may not select an arbitrator for the parties’
  arbitrable claims. If Defendants believed that the motion for leave to amend should be stayed
  pending arbitration, they ought to have suggested it long ago. Nothing of import regarding the
  arbitration has occurred.

         Plaintiffs’ motion for leave to amend has been fully briefed and is ready to be renewed.
  The logical approach is for the Court to determine that motion before the parties brief the
  question of a stay of this action pending arbitration. Once the motion for leave to amend is
  decided, the Court can assess the viable non-arbitrable claims in the amended pleading (if any)
  and whether they should be stayed pending the resolution of the claims referred to arbitration.
  This sequence will also allow the Court to evaluate the progress, if any, of the arbitration.

          Accordingly, Plaintiffs request that the claims against deceased defendant Oberlander be
  dismissed in accordance with Fed. R. Civ. P. 25, so that Plaintiffs may renew their motion for
  leave to amend the complaint. Pursuant to Rule 25(a)(1), because no motion for substitution of
  the decedent has been made by any party or by the decedent’s successor or representative within
  90 days after service of a statement noting the death, the claims against Oberlander must be
  dismissed. Plaintiffs also request that any motion for a stay pending arbitration be deferred until
  after the Court’s determination of Plaintiffs’ motion to amend.

                                        Respectfully yours,
                                        /s
                                        Yitzchak Eliezer Soloveichik


  Cc: All parties (via ECF)




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